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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                          CASE: 1:11-cv-24465-MGC



  JAN BENSON SEGAL,

          Plaintiff,

  vs.

  BRE/LQ FL PROPERTIES, LLC, et al.,
  a Foreign Corporation,

        Defendant.
  _____________________________________/


                                      NOTICE OF SETTLEMENT

          Plaintiff, JAN BENSON SEGAL, by and through the undersigned counsel, provides this

  Notice of Settlement, and states:

          1.      The parties have reached an agreement as to the resolution of this ENTIRE

  litigation.

          2.      Plaintiff’s counsel anticipates submitting a joint stipulation requesting the

  dismissal of this matter, with prejudice and in its entirety.

  WHEREFORE, Plaintiff, JAN BENSON SEGAL, provides this Notice of the Settlement in this
  matter and respectfully request that the Court vacate all existing litigation dates in this matter as
  it has been resolved in its entirety.
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                                  CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of the
  Court via CM/ECF on this 3rd day of April 2012. We further certify that the foregoing was
  served on all counsel or parties of record on the attached Service List either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronic Notices of Filing.

  DATED: April 3, 2012.


  Respectfully submitted,
                                            -and-

  By:    /s/ Daniel B. Reinfeld                     By:    /s/ William Glenn Dill
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                   JAN SEGAL vs. BRE/WELLESLEY PROPERTIES LLC
                               Case 1:11-cv-24012-KMM
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